Case: 1:15-cv-08935 Document #: 3 Filed: 10/08/15 Page 1 of 1 PageID #:29

U.S. District Court for the Northern District Of Illinois
Attorney Appearance Form

 

Case Title: Case Number:

An appearance is hereby filed by the undersigned as attorney for:
Plaintiff, Sparkles Wages

Attorney name (type or print): Stephanie K. Nathanson
Firm: Law Offices of Stephanie K. Nathanson

Street address: 70 West Madison Street, Suite 3960
City/State/Zip: Chicago, IL 60602

Bar ID Number: 6279321 Telephone Number: 312-263-9090

(See item 3 in instructions)

Email Address: skn@sknlawoffice.com

Are you acting as lead counsel in this case? Yes [ | No
Are you acting as local counsel in this case? [ | Yes [ No
Are you a member of the court's trial bar? Yes [ ]No

If this case reaches trial, will you act as the trial attorney? Yes [ | No

If this is a criminal case, check your status. [ | Retained Counsel

[ | Appointed Counsel
if appointed counsel, are you

[] Federal Defender
[ _]CuA Panel Attorney

 

In order to appear before this Court an attorney must either be a member in good standing of this Court's
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
| declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 10/2/2015

Attorney signature: | S/_Stephanie K. Nathanson
(Use electronic signature if the appearance form is filed electronically.)

Revised 8/1/2015
